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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
CASEY CUNNINGHAM, CHARLES E.
LANCE, STANLEY T. MARCUS, LYDIA
PETTIS, and JOY VERONNEAU, individually
and as representatives of a class of participants
and beneficiaries on behalf of the Cornell
University Retirement Plan for the Employees of
the Endowed Colleges at Ithaca and the Cornell
University Tax Deferred Annuity Plan,

                                 Plaintiffs,                            16-cv-6525 (PKC)

                -against-                                                  OPINION
                                                                          AND ORDER

CORNELL UNIVERSITY, THE RETIREMENT
PLAN OVERSIGHT COMMITTEE, MARY G.
OPPERMAN, and CAPFINANCIAL
PARTNERS, LLC d/b/a/ CAPTRUST
FINANCIAL ADVISORS,

                                  Defendants.
-----------------------------------------------------------x

CASTEL, U.S.D.J.

                Plaintiffs move to certify a class of participants and beneficiaries of the Cornell

University Retirement Plan for the Employees of the Endowed Colleges at Ithaca (the “Retirement

Plan”) and the Cornell University Tax Deferred Annuity Plan (the “TDA Plan”) (together, the

“Plans”) pursuant to Rule 23, Fed. R. Civ. P. (Doc 151.) Plaintiffs assert that the fiduciaries of

these plans have not managed the Plans prudently and have allowed the plans to underperform and

accrue excessive administrative fees. Plaintiffs allege violations of sections 404 and 406 of the

Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. §§ 1104, 1106. For the reasons

explained, the plaintiffs’ motion for class certification is granted.
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BACKGROUND

                 The five named plaintiffs in this action are current or former employees at Cornell

University (“Cornell”). (Am. Compl. at 10; Doc 81.) 1 Three of the five plaintiffs are participants

in the TDA Plan and all five plaintiffs are participants in the Retirement Plan. (Am. Compl. at

10.) The Plans are defined contribution, individual account, employee pension benefit plans

sponsored by Cornell for eligible employees. (Am. Compl. at 7-8.) The Retirement Plan is funded

by contributions from Cornell on behalf of its employees, (Am. Compl. at 7), while the TDA plan

is funded by employees’ pre-tax deferrals of compensation, (Am. Compl. at 9.) The plans are

referred to as “jumbo plans” for their large size (each well over $1 billion), which plaintiffs claim

affords them “tremendous bargaining power in the market for retirement plan services.” (Am.

Compl. at 9.) TIAA-CREF 2 and Fidelity are the two recordkeepers for both plans. (Am. Compl.

at 52−53.)

                 Plaintiffs assert that defendants are the fiduciaries of the Plans. Cornell is the

administrator of the Plans. (Am. Compl. at 11.) Cornell formed co-defendant the Retirement Plan

Oversight Committee (the “Committee”), headed by co-defendant Mary G. Opperman, to oversee

the Plans’ investment options. (Am. Compl. at 12.) Capfinancial Partners, LLC d/b/a CAPTRUST

Financial Advisors (“CAPTRUST”) is an investment advisory firm hired by the Committee. (Am.

Compl. at 12.) While the Plans’ fiduciaries choose the investment options included in the Plans,

participants may designate in which of the Plans’ funds to invest their individual accounts. (Am.

Compl. at 9) As of December 31, 2014, the Retirement Plan offered a total of 299 investment




1
  Because the Complaint is not consistently numbered sequentially (see, e.g., ¶32 on page 13 and ¶32 on page 16),
the Court will cite to the Amended Complaint by page number.
2
 According to the Complaint, TIAA-CREF is “an insurance company financial services provider.” Am. Compl. at 33.
The acronym refers to two organizations, the Teachers Insurance and Annuity Association of America (TIAA), and
the College Retirement Equities Fund (CREF). Id.

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options (68 TIAA-CREF and 231 Fidelity investments), and the TDA Plan offered a total of 301

investment options (70 TIAA-CREF and 231 Fidelity investments). (Am. Compl. at 53.) Plaintiffs

have invested in many, but not all, of the funds in the Plans. (Am. Compl. at 6.)

               As the Court discussed in its decision denying in part defendants’ motion to

dismiss, the Amended Complaint plausibly alleged that all defendants except CAPTRUST failed

to monitor and control the Plans’ recordkeeping fees, solicit bids from competing recordkeeping

providers on a flat per-participant fee basis, and determine in a timely manner whether the Plans

would benefit from moving to a single recordkeeper. See Cunningham v. Cornell Univ., 16 cv

6525 (PKC), 2017 WL 4358769, at *6, *11 (S.D.N.Y. Sept. 29, 2017). It further plausibly alleged

that all defendants unreasonably continued to offer as a fund option the CREF Stock Account and

TIAA Real Estate Account despite high fees and poor performance, selected and retained funds

with high fees and poor performance relative to other available options, and selected and retained

high-cost mutual funds instead of identical lower-cost funds. See id. at *6−8. Finally, the

Amended Complaint plausibly alleged that Cornell and Mary G. Opperman failed to monitor the

performance of their appointees to the Committee and failed to remove appointees whose

performance was inadequate as related to the abovementioned failures of selecting and retaining

funds. See id. at *11.

               The named plaintiffs seek to represent a putative class defined as follows: “All

participants and beneficiaries of [the Plans] from August 17, 2010, through the date of judgment,

excluding the Defendants and any participant who is a fiduciary to the Plans.” (Am. Compl. at

113.) The Court noted in its Order granting in part and denying in part defendants’ motion to

dismiss that “[t]his action is one of several filed by the same counsel in federal courts across the

country against different university pension plans alleging breaches of the fiduciary duties imposed



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by ERISA.” (Id. at *3.) Class certification in all cases in which a motion for certification has been

decided has been granted. See, e.g., Cates v. Trs. of Columbia Univ. in the City of New York, 16

cv 6524 (GBD)(SDA), Dkt. 218 (S.D.N.Y. Nov. 15, 2018); Henderson v. Emory Univ., 16 cv 2920

(CAP), 2018 WL 6332343, at *10 (N.D. Ga. Sept. 13, 2018); Clark v. Duke Univ., 16 cv 1044,

2018 WL 1801946, at *10 (M.D.N.C. Apr. 13, 2018); Sacerdote v. New York Univ., 16 cv 6284

(KBF), 2018 WL 840364, at *8 (S.D.N.Y. Feb. 13, 2018). In addition, class counsel has filed

cases with similar complaints in the Middle District of Tennessee and the District of Massachusetts

that have reached and granted class certification. See Cassell v. Vanderbilt Univ., 16 cv 2086,

2018 WL 5264640, at *6 (M.D. Tenn. Oct. 23, 2018); Tracey v. MIT, 16 11620 (NMG), 2018 WL

5114167, at *7 (D. Mass. Oct. 19, 2018).

               Cornell, the Committee, and Ms. Opperman (“the Cornell Defendants”) do not

oppose plaintiffs’ motion for class certification on Count III, the claim that the Cornell Defendants

breached a duty of prudence by allowing the Plans to pay unreasonable administrative fees.

(Cornell Defs.’ Resp. to Class Cert. Mot. at 1; Doc 168.) But defendants oppose class certification

as to the remaining claims brought in Counts V and VII. (Docs 165, 168.)

STANDING

               ERISA creates a private cause of action for any “participant, beneficiary or

fiduciary” to sue for “breaches [of] any of the responsibilities, obligations, or duties imposed upon

fiduciaries” of a retirement plan. 29 U.S.C. §§ 1109(a), 1132(a)(2). Such claims are “brought in

a representative capacity on behalf of the plan.” Mass. Mut. Life Ins. Co. v. Russell, 473 U.S. 134,

142 n.9 (1985). “[T]he basic standing issue is whether the plaintiff is within the zone of interests

ERISA was intended to protect.” L.I. Head Start Child Dev. Servs., Inc. v. Econ. Opportunity




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Comm’n of Nassau Cty., Inc., 710 F.3d 57, 65 (2d Cir. 2013) (quoting Mullins v. Pfizer, Inc., 23

F.3d 663, 668 (2d Cir. 1994)).

                    The Cornell Defendants argue that plaintiffs do not have standing to bring class

claims because the named plaintiffs have not shown investments in each of the hundreds of

investment funds covered by the Plans, such that they cannot demonstrate the required injury-in-

fact. Collectively, the named plaintiffs invested in at least twenty-five of the funds offered by the

Plans. (Am. Compl. at 6.) The Cornell Defendants do not contest that plaintiffs have standing to

bring claims for funds in which they have invested.

                    Plaintiffs do not need to make a showing of investment in each fund to demonstrate

standing. The Court adopts the reasoning laid out in detail in Sacerdote, 2018 WL 840364, at *7,

and Leber v. Citigroup 401(K) Plan Inv. Comm., 323 F.R.D. 145, 155−59 (S.D.N.Y. 2017), and

adopted most recently by Cates, 16 cv 624 (GBD)(SDA), Dkt. 218 (S.D.N.Y. Nov. 15, 2018). As

discussed in those cases, the Second Circuit has held that plaintiffs who assert claims in a

derivative capacity on behalf of a retirement plan establish “injury-in-fact sufficient for

constitutional standing” by alleging injuries to the plan itself. L.I. Head Start, 710 F.3d at 67 n.5.

While the plan in L.I. Head Start was a defined benefit plan, unlike the defined contribution plans

at issue in this case, the Court is persuaded by the discussion in Leber that L.I. Head Start remains

binding precedent for all suits brought in a derivative capacity. See 323 F.R.D. at 155 (“Nothing

in the Long Island Head Start decision indicates that the Court of Appeals relied on any unique

characteristics of defined benefit plans to reach its conclusion about standing.”). 3


3
    As stated in LaRue v. DeWolff, Boberg & Assocs., Inc., 552 U.S. 248, 250 n.1 (2008):
                    [A] ‘defined contribution plan’ or ‘individual account plan’ promises the
                    participant the value of an individual account at retirement, which is largely a
                    function of the amounts contributed to that account and the investment
                    performance of those contributions. A ‘defined benefit plan,’ by contrast,
                    generally promises the participant a fixed level of retirement income, which is
                    typically based on the employee’s years of service and compensation.

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               Further, for the reasons discussed in Leber, 323 F.R.D. at 156, the Court agrees that

plaintiffs meet requirements for standing even if L.I. Head Start did not control. The Second

Circuit has considered whether named plaintiffs have “‘class standing’ to bring claims related to”

financial instruments that plaintiffs had “not purchased on behalf of the absent class members who

had purchased them.” Ret. Bd. of the Policemen’s Annuity and Benefit Fund v. Bank of N.Y.

Mellon, 775 F.3d 154, 160 (2d Cir. 2014). To establish class standing, a plaintiff must show that

she “personally has suffered” an injury-in-fact as a result of defendant’s conduct, and defendant’s

conduct “implicates ‘the same set of concerns’ as the conduct alleged to have caused injury” to the

other putative class members. NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co.,

693 F.3d 145, 162 (2d Cir. 2012) (first quoting Blum v. Yaretsky, 457 U.S. 991, 999 (1982), then

quoting Gratz v. Bollinger, 539 U.S. 244, 267 (2003)). “When this standard is satisfied, the named

plaintiff’s litigation incentives are sufficiently aligned with those of the absent class members that

the named plaintiff may properly assert claims on their behalf.” Ret. Bd., 775 F.3d at 161.

               Personalized injury-in-fact requires named plaintiffs to demonstrate individualized

losses in the form of some amount of financial damage; it does not require harm be shown from

investment in each fund that makes up an overall plan. See Leber, 323 F.R.D. at 156−57; Moreno

v. Deutsche Bank Ams. Holding Corp., 15 cv 9936 (LGS), 2017 WL 3868803, at *10 (S.D.N.Y.

Sept. 5, 2017); cf. Caufield v. Colgate-Palmolive Co., 16 cv 4170 (LGS)(KNF), 2017 WL

3206339, at *7−8 (S.D.N.Y. July 27, 2017). Indeed, the very reason for articulating a class

standing test in NECA-IBEW was to allow named plaintiffs to bring claims related to certificates

they had not purchased. Other district courts that have considered the question with respect to

these same types of plans involving multiple funds have reached the same conclusion. Cassell,

2018 WL 5264640, at *2−3 (citing, inter alia, Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 593



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(8th Cir. 2009), and Fallick v. Nationwide Mut. Ins. Co., 162 F.3d 410, 423 (6th Cir. 1998));

Henderson, 2018 WL 6332343, at *2−3; Velazquez v. Mass. Fin. Servs. Comp., 320 F. Supp. 3d

252, 257 (D. Mass. 2018); Clark, 2018 WL 1801946, at *4; Ramos v. Banner Health, 325 F.R.D.

382, 391−93, 398 (D. Colo. 2018). But see Wilcox v. Georgetown Univ., 18-422 (RMC), 2019

WL 132281, at *9−10 (D.D.C. Jan. 8, 2019).

               Here, each named plaintiff has demonstrated individualized losses as the result of

defendants’ alleged breaches of their fiduciary duties in Counts V and VII. NECA-IBEW, 693

F.3d at 162. Count V alleges that CAPTRUST and the Cornell Defendants (i) continued to offer

the CREF Stock Account and TIAA Real Estate Account despite their high fees and poor

performance; (ii) retained funds with high fees and poor performance, including actively managed

funds, relative to other readily available options; and (iii) retained high-cost retail mutual funds

when materially identical lower-cost institutional funds were available. Each named plaintiff has

invested in at least one of the funds alleged to have been improperly retained relative to other

available options. Compare Am. Compl. at 6 (listing named plaintiffs’ funds), with Am. Compl.

at 70−78, 83, 89−95 (listing funds with lower share cost options or funds that underperformed their

benchmarks). Count VII challenges the Cornell Defendants’ failure to monitor appointees to the

Committee insofar as the appointees violated their duties of prudence with respect to the alleged

improper accounts in Count V. The same demonstrations of loss that sufficed for Count V satisfy

the requirement for Count VII.

               Defendants’ alleged breaches of their fiduciary duties also implicate the same set

of concerns with respect to non-named class members. NECA-IBEW, 693 F.3d at 162. Plaintiffs

allege that they and all other Plan participants were injured in the same manner due to defendants’

failure to discharge their duties in the interests of Plan participants and beneficiaries, leading to



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unreasonable administrative fees, unreasonable investment options with high expenses and poor

performance, and retention of appointees whose imprudent actions exacerbated the Plans’ high

costs and fees. (Am. Compl. at 126−28, 130−34, 137.) For example, plaintiffs allege that

defendants failed to “conduct[] a prudent and timely investment review process” to weed out

underperforming funds. Am. Compl. at 95; see id. at 132. “Because the alleged harms are

premised on the process . . . used to manage the Plan[s], the claims involve similar inquiries and

proof, and thus implicate the same set of concerns.” Moreno, 2017 WL 3868803, at *10 (citing

Caufield, 2017 WL 3206339, at *7); see Leber, 323 F.R.D. at 156−57.                Plaintiffs have

demonstrated standing to bring all remaining claims asserted in their Amended Complaint.

CLASS CERTIFICATION STANDARD

               On this motion, plaintiffs must prove by a preponderance of the evidence that the

proposed class meets the requirements of Rule 23(a), Fed. R. Civ. P, and at least one of the

requirements of Rule 23(b), Fed. R. Civ. P. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

345 (2011); Novella v. Westchester Cty., 661 F.3d 128, 148−49 (2d Cir. 2011). A court may

consider “[m]erits questions . . . to the extent─but only to the extent─that they are relevant to

determining whether the Rule 23 prerequisites for class certification are satisfied.” Amgen Inc. v.

Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013). A prerequisite to certification of any

class is that the Rule 23(a) requirements of numerosity, commonality, typicality, and adequate

representation be satisfied. Dukes, 564 U.S. at 349 (quotation marks omitted).

               Plaintiffs seek to certify the proposed class under either Rule 23(b)(1) or (b)(3).

Rule 23(b)(1) requires plaintiffs to show that

               prosecuting separate actions by or against individual class members
               would create a risk of: (A) inconsistent or varying
               adjudications . . . that would establish incompatible standards of
               conduct for the party opposing the class; or (B) adjudications with

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               respect to individual class members that, as a practical matter, would
               be dispositive of the interests of the other members not parties to the
               individual adjudications or would substantially impair or impede
               their ability to protect their interests.

               Rule 23(b)(1)(A) “considers possible prejudice to the defendants, while 23(b)(1)(B)

looks to possible prejudice to the putative class members.” In re Glob. Crossing Sec. and ERISA

Litig., 225 F.R.D. 436, 453 (S.D.N.Y. 2004) (quotation marks and citation omitted). Rule 23(b)(3)

requires that “questions of law or fact common to class members predominate over any questions

affecting only individual members, and that a class action is superior to other available methods

for fairly and efficiently adjudicating the controversy.” “[T]he focus of Rule 23(b)(3) is on the

predominance of common questions,” Amgen, 568 U.S. at 466, and “[t]he mere existence of

individual issues will not be sufficient to defeat certification,” Sykes v. Mel S. Harris & Assocs.

LLC, 780 F.3d 70, 87 (2d Cir. 2015).

DISCUSSION

       A. Rule 23(a)

               1. Numerosity

               Plaintiffs must show that “the class is so numerous that joinder of all members is

impracticable.” Rule 23(a)(1), Fed. R. Civ. P. Plaintiffs estimate, based on the Retirement Plan

Form 5500 for the years 2010 through 2016 for the Plans, that there are more than 28,000 members

of the proposed class. (Declaration of Andrew D. Schlichter at Exs. 1-14 p. 2; Doc 153.)

Defendants do not dispute that plaintiffs have shown numerosity. The Court concludes that

plaintiffs have satisfied the numerosity requirement.

               2. Commonality

               Rule 23(a)(2) requires plaintiffs to show that “there are questions of law or fact

common to the class.” Plaintiff must “demonstrate that the class members have suffered the same

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injury,” which must turn “upon a common contention.” Dukes, 564 U.S. at 350 (quotation marks

omitted); see id. at 359 (stating to satisfy Rule 23(a)(2) “even a single common question will do”

(internal quotation marks, citation, and alteration omitted).       “This requirement has been

characterized as a low hurdle.” McIntire v. China MediaExpress Holdings, Inc., 38 F. Supp. 3d

415, 424 (S.D.N.Y. 2014) (internal quotation marks and citation omitted). “In general, the

question of defendants’ liability for ERISA violations is common to all class members because a

breach of a fiduciary duty affects all participants and beneficiaries.” In re Glob. Crossing, 225

F.R.D. at 452 (internal quotation marks and citations omitted).

               The claims of the proposed class turn on the “common contention” that defendants

breached their fiduciary duties by taking actions or failing to take actions that resulted in

unnecessarily high fees, higher-cost share classes for many funds where identical lower-cost

options were available, and the continued offering of underperforming funds, all claims that are

“capable of classwide resolution.” Dukes, 564 U.S. at 350. Put another way, the common

contention is that “the investment lineup made available to all participants violated ERISA.”

Moreno, 2017 WL 3868803, at *5. As noted in Sacerdote, plaintiffs “are bringing suit on behalf

of participants in the Plans, the centralized administration of which is common to all class

members.” 2018 WL 840364, at *3. Because the fiduciary duties are owed to the Plans, not to

individual accounts, common questions of law and fact are central to the case. Plaintiffs’ claims

involve common questions on matters such as defendants’ fiduciary status, whether defendants

breached any fiduciary duty, the plans’ alleged losses, how to calculate losses, and what equitable

relief is appropriate. Whether the number of funds in a particular plan is large or small, the

questions of defendants’ prudential oversight and failure to take actions that would result in lower

costs are questions that are common to the class. Leber, 323 F.R.D. at 157 (“Showing that any



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given . . . [f]und had cheaper alternatives or that it had unreasonably excessive fees may allow a

trier of fact to ‘reasonably infer . . . that the [defendants’] process was flawed,’ but it is not

dispositive of the ultimate question regarding the ‘methods employed by the ERISA fiduciary’ to

investigate, select, or monitor investments.” (quoting Pension Benefit Guar. Corp. ex rel. St.

Vincent Catholic Med. Ctrs. Ret. Plan v. Morgan Stanley Inv. Mgmt. Inc., 712 F.3d 705, 718 (2d

Cir. 2013)); id. at 158 (stating the duties to administer plans solely in the interest of participants

and to monitor investments “are constant duties; they need not be triggered by the characteristics

of any [one f]und”). Cf. Spano v. The Boeing Co., 633 F.3d 574, 586 (7th Cir. 2011) (“[T]he

assertion that [defendant] has failed to satisfy its fiduciary duties in its selection of investment

options . . . describe[s a] problem[] that would operate across the plan rather than at the individual

level.”) Plaintiffs have demonstrated common questions of law and fact under Rule 23(a)(2).

                CAPTRUST argues that the application of statutes of limitations to class member

claims require individual analyses that defeat class certification or, at a minimum, require the class

time period to be limited to three years before CAPTRUST was named a defendant. ERISA has a

three year statute of limitations “after the earliest date on which the plaintiff had actual knowledge

of the breach or violation.” 29 U.S.C. § 1113. CAPTRUST alleges that there is a highly-

individualized inquiry into whether members of the would-be class were aware of the alleged

breach earlier than three years prior to filing suit.

                Defendants made a similar argument in their motion to dismiss, which was denied

for failing to show that plaintiffs had actual knowledge of material facts necessary to bring suit

three years before the filing of this action. Cunningham, 2017 WL 4358769, at *12−13. Now,

CAPTRUST brings one example of a putative class representative, Mr. Charles Lance, who

purportedly “began to suspect that something was amiss with his retirement accounts in 1999 or



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2000.” CAPTRUST’s Opp. to Mot. for Class Cert. at 16; Doc 165 (citing Declaration of Daniel

R. Thies (“Thies Decl.”) Ex. 9 at 3; Doc 167.)

               “[T]he statute of limitations issue does not negate the many other common issues”

in this case, which satisfy the low hurdle for commonality under Rule 23(a)(2). Henderson, 2018

WL 6332343, at *5; see Clark, 2018 WL 1801946, at *5 (“The potential for some individual

[statute of limitation] issues that would, at best, reduce any damages award does not defeat

commonality and typicality under Rule 23(a).”); Moreno, 2017 WL 3868803, at *6 (“Courts in

this circuit have certified classes notwithstanding the purported defects Defendants identify with

respect to [the] ERISA . . . statute of limitations.” (internal quotation marks and citation omitted)).

Questions with respect to the statute of limitations issue may even be common to the class, such

as whether, based on Plan fee and performance disclosures, all class members had actual

knowledge of a breach.

               To the extent CAPTRUST argues class certification should be denied because Mr.

Lance is “subject to unique defenses which threaten to become the focus of the litigation,” Baffa

v. Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52, 59 (2d Cir. 2000) (internal quotation

marks and citation omitted), the Court concludes that Mr. Lance’s potential knowledge does not

threaten to become the focus of the litigation, and should not preclude class certification. Accord

Moreno, 2017 WL 3868803, at *6; Sykes v. Mel Harris & Assocs., LLC, 285 F.R.D. 279, 292

(S.D.N.Y. 2012) (dismissing argument that named plaintiffs’ unique defenses related to statute of

limitations issue barred class certification). Moreover, Mr. Lance’s alleged statement that bringing

this litigation “confirmed what [he] had suspected” based on noticing “how little of a return” he

was getting on his investments in the Plans, Thies Decl. Ex. 9 at 3−4; Doc 167, seems unlikely to

be the kind of “specific knowledge of the actual breach of duty” required to start the three-year



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limitations period, Leber v. Citigroup 401(k) Plan Inv. Comm., 2014 WL 4851816, at *5 (S.D.N.Y.

Sept. 30, 2014) (quoting Caputo v. Pfizer, Inc., 267 F.3d 181, 193 (2d Cir. 2001)); see L.I. Head

Start, 710 F.3d at 67 (“[A]ctual knowledge is strictly construed and constructive knowledge will

not suffice.”); Caputo, 267 F.3d at 193 (“It is not enough that plaintiffs had notice that something

was awry.” (internal quotation marks and citation omitted)).

               For the same reasons, the possible statute of limitations defense does not require

narrowing the proposed class period. If individual issues as to the application of the statute of

limitations become problematic as the case progresses, the Court may take appropriate other

measures including decertifying the class, creating subclasses, or conducting individualized fact-

finding. Rule 23(c)(1), Fed. R. Civ. P.; see Boucher v. Syracuse Univ., 164 F.3d 113, 118 (2d Cir.

1999) (courts are “required to reassess their class rulings as the case develops” (internal quotation

marks and citation omitted)).

               3. Typicality

               Rule 23(a)(3) requires plaintiffs to show that “the claims or defenses of the

representative parties are typical of the claims or defenses of the class.” Commonality and

typicality requirements “tend to merge,” meaning the analysis is similar for both. Dukes, 564 U.S.

at 349 n.5. Typicality may be found where “each class member’s claim arises from the same

course of events and each class member makes similar legal arguments to prove the defendant’s

liability.” In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29, 35 (2d Cir. 2009) (internal

quotation marks and citation omitted); Mazzei v. Money Store, 829 F.3d 260, 272 (2d Cir. 2016)

(“Typicality requires that the disputed issues of law or fact occupy essentially the same degree of

centrality to the named plaintiff’s claim as to that of other members of the proposed class.”

(internal quotation marks and citation omitted)). “When it is alleged that the same unlawful



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conduct was directed at or affected both the named plaintiff and the class sought to be represented,

the typicality requirement is usually met irrespective of minor variations in the fact patterns

underlying individual claims.” Robidoux v. Celani, 987 F.2d 931, 936−37 (2d Cir. 1993).

               For the reasons discussed in reviewing plaintiffs’ commonality arguments,

plaintiffs have satisfied the typicality requirement. Plaintiffs have sufficiently alleged that the

defendants’ failure to manage the Plans affected all proposed members of the class. Each

plaintiff’s claim and each class member’s claim is based on the same legal theory and underlying

events, namely, that CAPTRUST and the Cornell Defendants breached their duty of prudence by

imprudently selecting, administering, and reviewing the Retirement and TDA Plans’ investments,

recordkeeping fees, and the Committee’s delegates. (Am. Compl. at 126−28, 130−34, 137.)

               With respect to the allegations concerning failure to negotiate lower-cost share

classes of identical mutual funds, plaintiffs have alleged a common course of conduct that unites

their prudence claims. They allege that, for all funds where a lower-cost share class option was

available, defendants should have known a lower-cost option was available and should have

negotiated to provide the lower-share class option but did not do so. (Am. Compl. at 69, 78.) The

ability of the fiduciaries to negotiate lower-cost options, their knowledge of the existence of lower-

cost options, and their reasoning for maintaining higher-cost shares are all common questions

related to the same alleged unlawful conduct.            As for allegations that defendants retained

historically underperforming investments, plaintiffs allege that defendants failed to engage in a

prudent investment review process and used inappropriate benchmarks, leading to the retention of

a large number of historically underperforming funds. (Am. Compl. at 101, 132.) The allegedly

imprudent conduct thus impacted the funds in the Plans in a similar manner. The variations




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between Plan participants’ individual account choices do not destroy the typicality of plaintiffs’

claims.

                4. Adequacy

                Rule 23(a)(4) requires a showing that “the representative parties will fairly and

adequately protect the interests of the class.” “Generally, adequacy of representation entails

inquiry as to whether: 1) plaintiff’s interests are antagonistic to the interest of other members of

the class and 2) plaintiff’s attorneys are qualified, experienced and able to conduct the litigation.”

Baffa, 222 F.3d at 60. Defendants have put forth no arguments for why the named plaintiffs fail

to meet the adequacy requirement. After considering all relevant submissions, the Court finds the

named plaintiffs adequate under Rule 23(a)(4).

          B. Rule 23(b)(1)

                A class may be certified for two reasons under Rule 23(b)(1). Rule 23(b)(1)(A)

covers class action suits in which the defendant is “obliged by law to treat the members of the class

alike . . . or where the [defendant] must treat all alike as a matter of practical necessity.” Amchem

Prods., Inc. v. Windsor, 521 U.S. 591, 614 (1997); see Dukes, 564 U.S. at 361 n.11. Rule

23(b)(1)(B) covers class action suits in which “individual adjudications as a practical matter[]

would be dispositive of the interests of the other members not parties to the individual

adjudications.” Dukes, 564 U.S. at 361 n.11 (quotation marks omitted). It is common for ERISA

cases to be certified under Rule 23(b)(1). See Sacerdote, 2018 WL 840364, at *6. Accord In re

Schering Plough Corp. ERISA Litig., 589 F.3d 585, 604 (3d Cir. 2009) (collecting cases).

                Because plaintiffs’ allegations are brought with respect to breaches of fiduciary

duties to the Plans as a whole, defendants’ duties rise and fall with all plaintiffs. Any ruling with

respect to one plaintiffs’ claims for breach of fiduciary duties may dictate defendants’ investment



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procedures and management methods going forward that would not only impact other Plan

participants but would risk incompatible judgments if separate actions required different remedial

or equitable actions. Moreover, allowing multiple individual cases risks incompatible results and

issues of administration of the Plans that may have inconsistent effects across all plaintiffs.

Because damages are owed to the Plans and not individual plaintiffs, adjudication of the named

plaintiffs’ suits would be dispositive of the interests of other participants in the Plans. In sum,

because the management of the Plans has an effect on all Plan-participants, the class is properly

certified under Rule 23(a) and Rule 23(b)(1)(A) or 23(b)(1)(B). See Clark, 2018 WL 1801946, at

*9; Sacerdote, 2018 WL 840364, at *6. 4

                 CAPTRUST argues that an extensive individualized inquiry is necessary to resolve

questions related to the duty of prudence for each individual fund at issue, in total over 200 funds,

and that for this reason certification is improper under Rule 23(b)(1). The individualized inquiry

CAPTRUST refers to is not with respect to individual plaintiffs, but rather individual funds that

make up Plans in which all putative class members have an interest. Even if there is some

individualized inquiry with respect to the choice of share class or retention of a particular fund

within the Plans, each of these inquiries will affect broad swaths of the putative class. This is not

the kind of individualized inquiry that is meant to preclude class certification under Rule 23(b)(1),

and CAPTRUST has offered no case law that would persuade the Court to find otherwise.

CAPTRUST’s arguments are largely logistical and not legal, citing to the amount of evidence

required to adjudicate questions of prudence with respect to large numbers of funds that make up


4
 Where a class may be certified under Rule 23(b)(1) and (b)(3), “courts find that Rule 23(b)(1) controls.” Leber, 323
F.R.D. at 165. In a choice between certifying under Rule 23(b)(1) or (b)(3), “the former should be chosen when to do
so will avoid the inconsistent adjudication or compromise of class interests that might otherwise occur [under Rule
23(b)(3)].” Robertson v. Nat’l Basketball Ass’n, 556 F.2d 682, 685 (2d Cir. 1977). Accordingly, the Court need not
consider whether certification is appropriate under Rule 23(b)(3). For this reason, the Court does not consider
CAPTRUST’s argument that plaintiffs have not demonstrated common proof or evidence, as required by Rule
23(b)(3).

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a Plan. Resolution of questions related to the duty of prudence may be cumbersome for the number

of funds alleged in the complaint. Still, for each fund, defendants are “obliged by law to treat the

members of the class alike,” Amchem, 521 U.S. at 614, and “adjudications with respect to

individual class members[’]” investments and whether they were managed according to ERISA’s

fiduciary requirements “would be dispositive of the interests of the other members,” Rule

23(b)(1)(B); see Ortiz v. Fibreboard Corp., 527 U.S. 815, 833 (1999).

       C. Rule 23(g)

               Rule 23(g)(1) states that “[u]nless a statute provides otherwise, a court that certifies

a class must appoint class counsel.” To appoint class counsel, the court must consider factors such

as the work counsel has done, its experience in similar types of litigation, knowledge of the

applicable law, and resources available to represent the class. Rule 23(g)(1)(A), Fed. R. Civ. P.

Defendants make no arguments with respect to the appointment of plaintiffs’ selected class

counsel.

               Plaintiffs request the appointment of Schlichter Bogard & Denton LLP as class

counsel. This firm has provided competent representation for plaintiffs since this action’s

commencement. It has successfully defended against defendants’ motion to dismiss, conducted

discovery, and amended the complaint to assert new causes of action and new defendants in

response to evidence uncovered. Counsel’s submissions reflect knowledge of the law governing

plaintiffs’ claims and familiarity with class action procedures. Their performance in the present

case demonstrates competence to protect the interests of the class.

               Plaintiffs’ counsel also has significant prior experience litigating ERISA class

actions involving similar claims for breach of fiduciary duties.         (Declaration of Jerome J.

Schlichter at ¶¶5−14; Doc. 154.) The firm has been appointed class counsel in twenty-four ERISA



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class actions since 2006, including cases that have led to decisions on which this Court has relied

in deciding issues related to the present litigation. (Id. at ¶6; Doc 154.) Plaintiffs’ counsel has

demonstrated that they have adequate resources to litigate this action and are experienced in

litigating class actions generally. Accordingly, the Court appoints Schlichter Bogard & Denton

LLP as class counsel in this case.

       D. Disclosure of Damages

               CAPTRUST and the Cornell Defendants argue that plaintiffs have forfeited the

right to bring claims or seek damages for breach of fiduciary duties concerning any funds other

than the CREF Stock Account and the TIAA Real Estate Account, because plaintiffs’ initial Rule

26(a), Fed. R. Civ. P. disclosures do not allege damages stemming from breaches with respect to

any other funds. As an initial matter, the Court notes that plaintiffs’ Rule 26(a)(1) disclosures

identify damages with respect to the 92 alleged higher-cost share class mutual funds but do not

identify damages for the alleged historically underperforming investment options beyond the

CREF and TIAA funds. (Doc 167-7 at 6). Defendants do not show how an alleged failure to

identify damages specific to individual funds within the Plans would defeat any of the

requirements for class certification under Rule 23, Fed. R. Civ. P. See Leber, 323 F.R.D. at 158

(“Proving the existence and quantum of losses incurred by each Affiliated Fund is . . . a secondary

inquiry. It is analogous to the damages inquiry, and it is well-established that the fact that damages

may have to be ascertained on an individual basis is not sufficient to defeat class certification under

Rule 23(a) . . . .” (internal quotation marks and citation omitted)). And CAPTRUST’s argument

asking for the Court to sanction plaintiffs for failures to disclose pursuant to Rule 37(c)(1), Fed.

R. Civ. P. is not appropriately filed in a response to a motion for class certification. See Local




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Civil Rule 37.2 (requiring counsel for a party moving pursuant to Rule 37 to request an informal

conference with the Court by letter-motion).

CONCLUSION

               Plaintiffs’ motion for class certification is GRANTED (Doc 151.) The Court

certifies the following class:

               All participants and beneficiaries of the Cornell University
               Retirement Plan for the Employees of the Endowed Colleges at
               Ithaca and the Cornell University Tax Deferred Annuity Plan from
               August 17, 2010, through August 17, 2016, excluding the
               Defendants and any participant who is a fiduciary to the Plans.

The Clerk is directed to terminate the motion (Doc 151.)

               The law firm of Schlichter Bogard & Denton LLP is appointed to act as class

counsel. Within 21 days, class counsel shall submit a proposed form of notice to class members

and a proposed plan for distributing the notice.

               SO ORDERED.

                                                           _____________________________
                                                                     P. Kevin Castel
                                                               United States District Judge

Dated: New York, New York
       January 22, 2019




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